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EXHIBIT 6
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Nursing On call

1723

1723

1723

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1723

Date Program On-call Admin. On-call

Jan 4-6 Blayne Joe M
Jan 11-13 Bill Tim H
Jan 18-20 Karyn Joe M
Jan 21 Will Joe M
Jan 25-27 Jessica Tim H
Feb 1-3 Will Joe M
Feb 8-10 Taylor Tim H
Feb 15-17 Joe H Joe M
Feb 18 Jessica Joe M
Feb 22-24 Tim O, Tim H
Mar 1-3 Amanda Joe M
Mar 8-10 Vince Tim H
Mar 15-17 Blayne Joe M
Mar 22-24 Bill Tim H
Mar 29-31 Karyn Joe M

1723

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Perkins
RESIDENTIAL ON-CALL SCHEDULE (April 5 — June 30)
Date Program On-call Admin, On-call Nursing On call
April 5 — 7 Jess Tim H. ae 1723
April 12 — 14 Taylor Joe M 1723
April 19 - 21 Tim Tim H. ae 1723
April 26 — 28 Karyn Joe M 1723
May 3 —5 Amanda Tim H. ae 1723
May 10-12 Joy Joe M me 1723
May 17-19 Joe H. Tim H. 1723
May 24 Karyn Joe M. 1723
May 25 Joy Joe M. Be 1723
May 26 Blayne Joe M. Be 1723
May 27 Will Joe M. a 1723
May 31 — June 2 Blayne Tim H. ae 1723
June 7 —9 Jess Joe M. 1723
June 14 — 16 Will Tim H. 1723
June 21 — 23 Bill Joe M. ae 1723
June 28 - 30 Tim Tim H, ae 1723
Program On-call Cell Numbers Administrative On-call Cell Number
Tim a 0472 Tim a 0124
Amanda agg HE 39110 Joe Mantha HE 9690
Karyn Ma 3425 Adult Service Numbers
Blayne aa HE 5004 Program Administrators
Joc iii a 7843 Linda 0038 pager
Bill i M-86 14 BMM0031 0
Jessica I 721 M865 (h)
Will a 534 Sharon Sag M9 108 ©
Vince i 6317 ll i” M5351 0
Taylor HE 3288 a 7487 (h)
Joy i! 2890 Kerry 7217 ©

O/N Administrators Cell Numbers

Josh
Briana

ME 8765
ME 1096

call persons.

Nursing On-call Numbers
Nursing Cell Number - J 1723

* Always use Nursing cell phone. Always leave
a voicemail if phone is not answered for all On

Lisa
Supervisors
Lorrie i
Zac

762:
830

32)

O/N Administrator Cell Number

Jeff ii

MOI ©

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RESIDENTIAL ON-CALL SCHEDULE (July — October)

Date Program On-call | Admin. On-call | Nursing On call
June 14-16 Will Tim H. a 723
June 21 — 23 Bill Joe M. me 723
June 28 - 30 Amanda Tim H. 1723
July 3 /4/5til5 Tim O. Tim H. 1723
July 5 @ 5, 6,7 Joy Joe M a 723
July 12-14 Joe H. Joe M a 723
July 19-21 Blayne Joe M. a 723
July 26 — 28 Bill Tim H i 723
August 2 — 4 Will Tim H 1723
August 9 — 11 Jess Joe M a 723
August 16 — 18 Jeff (Joe H.) Tim H a 723
August 23 — 25 Amanda Joe M i 723
August 30 Amanda Tim H i i723
August 31 Joe H. Tim H 723
Sept. 1 Joy Tim H 1723
Sept. 2 Jess Tim H i 723
Sept. 6 - 8 Tim O. Joe M 1723
Sept. 13 —15 Joy Tim H 723
Sept. 20 — 22 Joe H. Joe M 1723
Sept. 27 — 29 Blayne Tim H i 723
Oct. 4 - 6 Bill Joe M. 1723
Oct 11 Will Joe M Pe 723
Oct 12 Jeff Joe M a 723
Oct 13 Blayne Joe M i 723
Oct 14 Bill Joe M a 723
Oct. 18 — 20 Will Tim H. i 723
Oct. 25 - 27 Jess Joe M. a 723

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Program On-call Cell Numbers

a 0472
ME 3910

04

a 7843

S14
Jessica J a 1721
vi iz 2534
by ZZ 2890
Jeff ii a -9099

O/N Administrators Cell Numbers

Josh ii HE 8765

Kyle ii

Nursing On-call Numbers

Nursing Cell Number - J 1723

* Always use Nursing cell phone. Always leave
a voicemail if phone 1s not answered for all On
call persons,

Administrative On-call Cell Number

Tin a 0124

Joe Mantha BE 9690

Adult Service Numbers

Program Administrators

Linda M0038 pager
O031 ©
M865 (h)

Sharon ag Go 10s ©

Bill i S351 ©
a -7487 (h)

Kerry Mm 7217 ©

Lisa a 623

Supervisors

Lorrie HR ss0

Zac e232:

O/N Administrator Cell Number

icf ZZ i... oo40

MANTHAO00552

